         Case 4:11-cr-00209-JM Document 918 Filed 01/28/14 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

V.                          CASE NO. 4:11CR00209-37 JMM

CHAD WIGGINS



                                          ORDER

       Pending is the Government’s motion to dismiss the indictment as to Defendant Chad

Wiggins. (Docket #917). The motion is GRANTED. Count One, as to Chad Wiggins only,

Count Eighty-Nine, and Count Ninety of the Indictment are hereby dismissed without prejudice.

       IT IS SO ORDERED this 28th day of January, 2014.


                                                          ______________________________
                                                          James M. Moody
                                                          United States District Judge
